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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


RAVEN KINLEY-DAVIS,

                        Plaintiff,
                                                               CIVIL ACTION
       v.                                                      NO. 17-3340

NHS PHILADELPHIA, et al.,

                        Defendants.


                                            ORDER

       AND NOW, this 29th day of May 2018, upon consideration of Defendants’ Partial

Motion to Dismiss the Complaint (Doc. No. 5), Plaintiff’s Response in Opposition (Doc. No. 8),

Defendants’ Reply (Doc. No. 12) and the arguments of counsel at the hearing on the Motion held

on December 3, 2017, it is ORDERED that the Motion (Doc. No. 5) is GRANTED IN PART

and DENIED IN PART as follows:

   1) Defendants’ Partial Motion to Dismiss is GRANTED IN PART on Plaintiff’s claims in

       Counts VI and VII against Paul Sachs in his individual capacity. Accordingly, Plaintiff’s

       claims against Paul Sachs are DISMISSED.

   2) Defendants’ Partial Motion to Dismiss is DENIED IN PART on Plaintiff’s remaining

       claims.

   3) The Clerk of Court shall place this case in SUSPENSE pending a decision by the

       Pennsylvania Human Relations Commission on Plaintiff’s charge of discrimination.

       Plaintiff’s counsel shall notify the Court when such a decision is made.

                                                    BY THE COURT:

                                                    /s/ Joel H. Slomsky, J.
                                                    JOEL H. SLOMSKY, J.
